IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
CIVIL DIVISION

JACK L. SISK and ELIZABETH M.

SISK,
Plaintiffs,
CASE NO.

VS.

JURY DEMANDED

DEVELOPMENT (HAD) III
CORPORATION, HI-TECH
AMERICA DEVELOPMENT (HAD)
V CORPORATION, GLOBAL
DISTRIBUTION GROUP, INC.,
KENNETH FRANKLIN, SR.,
KENNETH FRANKLIN, JR.,
RONALD KONITZER and
KENNETH FINKELSTEIN

Defendants. )

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HI-TECH AMERICA )
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COMPLAINT
COME NOW JACK L. SISK and ELIZABETH M. SISK, the above named
Plaintiffs and for their cause of action against Defendants HI-TECH AMERICA
DEVELOPMENT (HAD) III CORPORATION, HI-TECH AMERICA
DEVELOPEMNT (HAD) V CORPORATION, GL()BAL DISTRIBUTION GROUP,
INC., KENNETH FRANKLIN, SR., KENNETH FRANKLIN, JR., RONALD
KONITZER and KENNETH FINKELSTEIN hereby state as follows:
INTRODUCTION
Plaintifi`s bring this action to recover damages caused by the Defendants’ scheme

to defraud them, through a scheme of racketeering activity, of a significant portion of the

assets they owned.

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PARTIES

l. Plaintiff JACK L. SISK is an individual residing in Giles County, Tennessee.

2. Plaintiff ELIZABETH M. SISK is an individual residing in Giles County,
Tennessee.

3. Defendant Hl-TECH AMERICA DEVELOPMENT (HAD) 111
CORPORATION purports to be an incorporated company With its place of business
located at 101 East Hill Place, Market Street North, Nassau, BAHAMAS.

4. Defendant HI-TECH AMERICA DEVELOPMENT (HAD) V
CORPORATION purports to be an incorporated company With its place of business at
101 East Hill Place, Market Street North, Na.ssau, BAHAMAS.

5. Defendant GLOBAL DISTRIBUTION GROUP, lNC. (hereinafter referred to
as GLOBAL) is a suspended California corporation who has listed Ara Agadj anian, 1003
S. Central Avenue, Glendale, Califomia 91204 as its agent for service of process.

6. KENNETH FRANKLIN, SR.(hereinafter referred to as FRANKLIN, SR.) is
an individual residing at 3903 Butternut Court, Brandon, Hillsborough County, Florida
3351 1.

7. Defendant KENNETH FRANKLIN, JR.(hereinafter referred to as
FRANKLIN, JR.) is an individual residing at 910-A Lithia-Pinecrest Road, Brandon,
Hillsborough County, Florida 3351 1.

8. Defendant RONALD KONITZER (hereinafter referred to as KONITZER) is

an individual residing at 5662 Chancellor Blvd., Vancouver, BC V6T1E3, CANADA.

9. Defendant KENNETH FINKELSTEIN (hereinafter referred to as

FINKELSTEIN) is an individual currently believed to be doing business or residing at

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219-162 lSt Ave. W., Vancouver, BC V6JlGl CANADA.

JURISDICTION AND VENUE
10. This Court hasjun'sdiction pursuant to 18 U.S.C. 1964, 28 U.S.C. 1331 and
1367 and principles of supplemental jurisdiction
ll. Venue is proper in this District pursuant to 18 U.S.C. 1965 (a) and 28 U.S.C.

1391 because a substantial part of events giving rise to this claim occurred in Giles

County, Tennessee.

FACTUAL ALLEGATIONS

12. On or about May 5, 2003, the Plaintiffs as sellers executed two share purchase
agreements, a copy of which is attached as Plaintiffs’ collective Exhibit A, with
GLOBAL as purchaser. In accordance with said agreements, the Plaintiffs delivered the
shares, which they had previously acquired on or about May l 1, 1999 by paying
$37,500.00 and on or about October 8, 2001 by paying $12,500.00 to invest in Hi-Tech
Amen'ca Development (hereinafter referred to as HAD) (III and V, respectively)
Corporation, to Defendant FRANKLIN, SR. A copy of the letter from Defendants
FRANKLIN, SR. and FRANKLIN, JR. with instructions on how to make such check(s)
payable is attached as Plaintiffs’ Exhibit B. A copy of the Plaintiffs’ cancelled checks
documenting said payments is attached as Plaintiffs’ collective Exhibit C.

13. In consideration of these payments received from the Plaintiffs, Defendant
KONITZER executed agreements, a copy of which is attached as Plaintiffs’ collective
Exhibit D, on or about May 11, 1999 and October 8, 2001.

14. Defendants have failed to make any repayment to the Plaintiffs under the

agreements, except for a $500.00 payment by KONITZER on or about January 29, 2007.

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A copy of the signed check and letter which Plaintiff Jack Sisk received from
KONITZER is attached as Plaintift’s collective Exhibit E.

15. Plaintiffs were sold these investments by Defendant FRANKLIN, SR. in
Giles County, Tennessee. A “Special Bulletin” which the Plaintiffs received from
Defendants FRANKLIN, SR. and FRANKLIN, JR., a copy of which is attached as
Plaintiff’ s Exhibit F, mentions “obtaining the exclusive franchising rights for. ..
Tennessee”. No construction has ever been started of a factory in any of the promised
Territories related to these investments

16. Plaintiffs have demanded an accounting and repayment, but Defendants have
failed to comply.

17. Defendant GLOBAL is currently indebted to Plaintiffs at least in the amount
of $52,500.00 under said share purchase agreements

18. Defendant GLGBAL has breached the terms of the share purchase agreements
it made with the Plaintiffs. The breach includes, but is not limited to, not making any
payments to the Plaintiffs.

19. Defendants FRANKLIN, SR. as the designated delivery person, and
FRANKLIN, JR. as his agent, received the Plaintiffs’ HAD shares certificates and
documents, breached the agreement and are liable to the Plaintiffs for the receipt of the
shares and all proceeds they received related to the investments sold to the Plaintiffs.

20. Defendant KGNITZER breached the agreement he executed with the
Plaintiffs and is liable to the Plaintiffs for all proceeds he received related to the

investments sold to the Plaintiffs.

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21. Defendant FINKELSTEIN designated himself as the escrow agent in the share
purchase agreement and is liable to the Plaintiffs for any shares and all proceeds he
received on behalf of any and all of the parties in this action. Prior to the share purchase
agreement, Defendant FINKELSTEIN, purportedly on behalf of HAD, previously
contacted the Plaintiffs as is documented by his letter of July 16, 2001 which is attached
as Plaintiffs’ Exhibit G.

22. The joint scheme between the Defendants who are natural persons was
ongoing and continuous in that it began prior to May, 1999 and continued for several
years. The primary purpose of said scheme was to defraud the Plaintiffs, and other
individual investors, of most of their life’s savings.

23. This is an appropriate case for an award of pre-judgment interest on the
Plaintiffs’ unreturned investments, plus costs and reasonable attorney fees for the
Plaintiffs related to this action.

24. The corporate veil of Defendant GLOBAL, as a suspended corporation,
should be pierced by the Court to find the Defendants FRANKLIN, SR. as the designated
delivery person, and his son, FRANKLIN, JR. as his agent, received the Plaintiffs’ HAD
shares certificates plus documents so they are liable to the Plaintiffs for the receipt of the
shares and all proceeds they received related to the investments sold to the Plaintiffs.

25. The Defendant FRANKLIN, SR. as the designated delivery person, and
FRANKLIN, JR. as his agent, received the Plaintiffs’ HAD shares certificates plus
documents and made statements which they knew or had reason to know were untrue to

Plaintiff Jack Sisk related to the investments sold to the Plaintiffs, and therefore are liable

for fraud and/or misrepresentation

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26. Defendant KONITZER in making agreements with the Plaintiffs made
statements which he knew or had reason to know were untrue related to the investments
purchased by the Plaintiffs, and therefore is liable for fraud and or/misrepresentation.

27. All of the Defendants and/or their agents knew or should have known that the
Plaintiffs would reasonable rely upon said statements in making these purchases

28. The Plaintiffs did reasonable rely upon said statements to their detriment

29. In doing so, the Plaintiffs suffered damages in the amount of at least $49,500

COUNT I (RACKETEERING AGAINST ALL DEFENDANTS)

30. Plaintiffs reallege the allegations of paragraphs 1 through 29 and incorporate
them herein by reference.

31. Defendants are “persons” within the meaning of the Racketeering Influenced
and Corrupt Organizations Act(“RICO”) 18 U.S.C. 1961 (3).

32. Defendants formed an association-in-fact to defraud the plaintiffs and persons
like them of most or all their life’s savings. The association in fact functioned as an
enterprise engaged in interstate commerce within the meaning of RICO, 18 U.S.C. 1961

(4)-

33. Defendants engaged in a pattern of racketeering activity within the meaning of
RICO, 18 U.S. C. 1961 (5)
a. Defendants used the interstate wires to facilitate their obtaining the
Plaintiffs’ fimds by means of false or fraudulent pretenses, representations or promises by
transmitting communications for the purpose of executing their scheme, in violation of 18

U.S. C. 1343. The acts of wire fraud included at least the following:

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i. One or more telephone calls between Defendant FRANKLIN, SR.
and/or Defendant FRANKLIN, JR. and Defendant KONITZER in which they agreed to
defraud investors including the Plaintiffs pursuant to their ongoing scheme.

ii. One or more telephone calls between Defendant KONITIZER and
Plaintiff Jack Sisk in which Defendant KONITZER falsely indicated that promised
payment(s) would be made.

b. Defendants used the United States mail to send documents for the
purpose of executing their scheme to obtain the Plaintiffs’ funds by means of false or
fraudulent pretenses, representations or promises in violation of 18 U.S.C. 1341. The acts
of mail fraud include documents which were mailed to the Plaintiffs including, but not
limited to, those which are attached to this Complaint as Plaintiffs’ collective Exhibit A,
and Plaintiffs’ Exhibits B, D, E, F and G.

34. The acts of racketeering described above were part of a continuous scheme
that began prior to May, 1999 and continued for several years. Plaintiffs believe that
numerous persons were defrauded pursuant to the scheme, although the precise number is
unknown to the Plaintiffs at this time.

35 . The Defendants were associated with the enterprise. They participated in the
operation and management of its affairs.

36. Defendants conducted or participated, directly or indirectly, in the conduct of
the affairs to the enterprise through the pattern of racketeering activity described above,
in violation of 18 U.S.C. 1962 (c).

37. Plaintiffs have been injured financially and suffered loss of most of their funds

by reason of the violation described above because only 8500 has returned to them.

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COUNT II (FRAUD AGAINST ALL DEFENDANTS)
38. Plaintiffs reallege the allegations of paragraphs 1 through 29 and incorporate

them herein by reference.

39. Defendants misrepresented to the Plaintiffs the nature of what they were
purchasing and returns Which the Plaintiffs would receive regarding said purchase and
repurchase Defendants’ representations were false at the time they were made and

Defendants knew their representations were false.

40. Those representations were material to the Plaintiffs when they decided to use
most of their life’s savings to make the two purchases and to sign share repurchase

agreements

41. Defendants failed to inform the Plaintiffs that they had formed a scheme to
defraud investors by retaining almost all of the Plaintiffs life’s savings

42. The facts that Defendants omitted and failed to inform the Plaintiffs of would
have been material to them When they decided to make the two purchases and to sign
share repurchase agreements

43. The Plaintiffs relied on those representations and omissions When they signed
checks for the two purchases and signed the share repurchase agreements ~

44. Plaintiffs have been injured financially and suffered loss of most of their
funds as a result of the Defendants’ fraud because only 8500 has returned to them,

COUNT III (BREACH OF CONTRACT AGAINST ALL DEFENDANTS)
45 . Plaintiffs reallege the allegations of paragraphs 1 through 29 and incorporate

them herein by reference

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46. Defendants HAD 111 and IV by Defendant KONITZER and procured through
Defendants FRANKLIN, SR., FRANKLIN, JR. and FlNKELSTElN entered into
contracts for purchases With the Plaintiffs.

47.The consideration for those contracts included the funds received from the
Plaintiffs.

48. Defendants HAD 111 and IV, Defendants KONITZER, FRANKLIN, SR.,
FRANKLIN, JR. and FINKELSTEIN breached those contracts They did not provide the
promised returns

49. Defendants GLOBAL, FRANKLIN, SR., FRANKLIN,JR. and
FINKELSTEIN entered into contracts for share repurchases with the Plaintiffs.

50. The consideration for those contracts included the shares received from the
Plaintiffs.

51. Defendants GLOBAL, FRANKLIN, SR., FRANKLIN, JR. and
FINKELSTEIN breached those contacts They did not provided the promised payments

52. Plaintiffs have been injured financially and suffered loss of most of their funds
as a result of the Defendants’ breaches of contract because only $500 has returned to the
Plaintiffs.

COUNT IV
(BREACH OF FIDUCIARY DUTY AGAINST INDIVIDUAL DEFENDANTS)

53. Plaintiffs reallege the allegations of paragraphs l through 29 and incorporate
them herein by reference

54. The Plaintiffs sent their HAD 111 anle share certificates to Defendant

FRANKLIN, SR. at the written direction of Defendant FfNKELSTElN and the Plaintiffs

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believe that Defendants FRANKLIN, JR. and KONITZER were involved in the
procurement of purported share repurchase agreements

55 . Because Defendant FRANKLIN, SR. and/ or Defendant FINKELSTEIN and

also Defendants FRANKLIN, JR. and KONITZER who assisted in such procurement,
held the share certificates for the benefit of the Plaintiffs, they owed a fiduciary duty.

56. The Plaintiffs have reason to believe that such duty was breached because the

Plaintiffs have not received back possession their certificates which they sent to

Defendant FRANKLIN, SR. on May 6, 2003 by Certified Mail. Plaintiffs have been

injured financially and suffered loss of most of their funds as a result of the individual

Defendants’ breaches of fiduciary duty because only $500 has returned to the Plaintiffs.
PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request relief as follows:

A. F or Count l, treble their damages plus the costs of suit, including a
reasonable attorney’s fee;

B. F or Counts 11, 111, and IV, compensatory damages and prejudgment
interest in an amount to be determined, plus the costs of suit and a
reasonable attorney’s fee;

C. Such other relief as the Court may order.

Plaintiffs demand a trial by jury of all issues so triable. Respectfully Submitted:
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